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: 1:12-cv-03148 Document #: 313 Filed: 09/26/17 Page 4 of 18 PageID #:5992

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My Commission Expires 9/2519

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My Commission Expires 9/28/2019

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Case: 1:12-cv-03148 Document #: 313 Filed: 09/26/17 Page 9 of 18 PagelD #:5997

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My Commission Expires 9/28/2019 2. < =

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Case: 1:12-cv-03148 Document #: 313 Filed: 09/26/17 Page 13 of 18 PagelD #:6001

MYRON M. GHERRY & ASSOCIATES u
ATTORNEYS AT LAW
30 NORTH LASALLE STREET, SUITE 2300

CHICAGD, ILLINOIS 60602

TELEPHONE (312) 372-2100
FACSIMILE (312) 853-0279

WWW.CHERRY-LAW.COM

May 16, 2017

Via U.S. Mail
Cortillas Harris
IDOC#: B-73808
P.O. Box 999

Canton, Illinois 61520

Re: Otero v. Dart, et al. (N.D. Ill. Case No. 12-ev-3148)
Mr. Harris:

We received your letter dated May 9, 2017. According to the claims administrator, the
notice and claim form were mailed to you at the following address: 5615 73" St., Kenosha, WI
53142-3669. The claims administrator also advised us that it received your letters in July of 2016,

but, by that time, the deadline to submit a claim for a settlement payment (June 20, 2016) had
already passed.

. Sincerely,

Jacie< Zolna

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Case: 1:12-cv-03148 Document #: 313 Filed: 09/26/17 Page 14 of 18 PagelD #:6002

MYRON M. CHERRY & ASSOCIATES .
ATTORNEYS AT LAW
30 NORTH LASALLE STREET, SUITE 2300

CHICAGO, ILLINDIS 60602

TELEPHONE (312) 372-2100
FACSIMILE (312) 853-0279

WWW.CHERRY-LAW.COM

June 6, 2017

Via U.S. Mail
Cortillas Harris
IDOC#: B-73808

P.O. Box 999

Canton, Illinois 61520

Re: Otero v. Dart, et al. (N.D. Ill. Case No. 12-cv-3148)
Mr. Harris:

I am writing in response to your letter dated May 21, 2017. I empathize with your position,
but, unfortunately, there is nothing we can do for you. The deadline for claims was confirmed by
Court order. We have already attempted to persuade the Defendants to accept late claims, but, as
is their right under the Court-ordered schedule, they have refused to accommodate any late claims.
In short, this settlement has been concluded and the funds have already been disbursed.
Unfortunately, there is nothing more we can do.

Sincerely,

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Case: 1:12-cv-03148 Document #: 313 Filed: 09/26/17 Page 15 of 18 PagelD #:6003

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